     Case 2:11-cr-00107-WFN    ECF No. 642   filed 11/22/11   PageID.1673 Page 1 of 1




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 2
                               UNITED STATES DISTRICT COURT
 3                            EASTERN DISTRICT OF WASHINGTON
 4
       UNITED STATES OF AMERICA,                )
 5                                              )    No. CR-11-107-WFN-13
                        Plaintiff,              )
 6                                              )    ORDER GRANTING UNOPPOSED
       v.                                       )    MOTION TO MODIFY CONDITIONS
 7                                              )    OF PRETRIAL RELEASE
       CRUZ GONZALEZ RANGEL, a/k/a              )
 8     Pica, a/k/a Cruz Rangel,                 )
                                                )
 9                      Defendant.              )

10          Before the court is Defendant’s unopposed Motion to Modify

11    Conditions of Pretrial Release.               The court having reviewed the

12    reasons for the request, and there being no objection from the

13    government or from the U.S. Probation office,

14          IT IS ORDERED that the Motion (ECF No. 637) is GRANTED.

15          Defendant shall be permitted to travel to the Western District

16    of Washington without prior written authorization from the U.S.

17    Probation Office. Defendant shall call the U.S. Probation Office at

18    least 48 hours in advance of travel to notify them of his travel

19    plans, including his departure and return schedules.                    Defendant

20    shall notify the U.S. Probation Office in the event his travel plans

21    change during the course of travel.             The Defendant is required to

22    abide by all other terms and conditions of the Order setting

23    conditions of release entered on July 27, 2011.                (ECF No. 313.)

24          A copy of this Order shall be provided to the U.S. Probation

25    Office, counsel for the Defendant and counsel for the government.

26      DATED November 22, 2011.

27                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
28
      ORDER GRANTING UNOPPOSED MOTION TO
      MODIFY CONDITIONS OF PRETRIAL RELEASE - 1
